UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF NORTH CAROLINA
WILMINGTON DIVISION

 

In Re:
: Case No. 19-04309-5-SWH
Porters Neck Country Club, Inc. i Chapter 11
Debtor(s)
NOTICE OF PERFECTION OF STATUTORY LIEN
PURSUANT TO SECTION 546(b) OF THE BANKRUPTCY CODE

Chambliss & Rabil Contractors, Inc. ("C&R”/Lien Claimant"), by and through
counsel, hereby provides Notice pursuant to Section 546(b) of the Bankruptcy Code of its
perfection of its statutory lien rights as follows:

1. C&R/Lien Claimant claims a statutory lien and has perfected such statutory lien
against certain real property and improvements owned by Debtor located in Wilmington,
New Hanover County, North Carolina (the “Property”), more particularly described in the
Claim of Lien filed on November 13, 2019 with the New Hanover County Clerk of Court,
a copy of which is attached hereto as Exhibit A.

2. That pursuant to its contract with Debtor C&R/Lien Claimant provided labor,
materials and other construction services to the real property owned by Debtor with regard
to the repair and renovation of storm damage to the Clubhouse.

3. C&R/Lien Claimant hereby gives notice, pursuant to Sections 362(b)(3) and
546(b) of the Bankruptcy Code that it has perfected its statutory lien against the Property
in accordance with Chapter 44A of the North Carolina General Statutes. C&R/Lien
Claimant reserves the right to enforce its lien interest in the Property and improvements.

4. This Notice is being provided within the time fixed by law for commencement of
an action to enforce said Claims of Lien which relates back to and including the first date

upon which labor or materials were first furnished by C&R/Lien Claimant to the improved
Property owned by Debtor.

This the 11" day of December, 2019.

YOW, FOX & MANNEN, L.L.P.
Attorneys for Chambliss & Rabil Contractors, Inc.

By:_S/ Jerry A. Mannen, Jr.
Jerry A. Mannen, Jr.

State Bar No. 17498

102 North Fifth Avenue

P.O. Drawer 479

Wilmington, N.C. 28402
Telephone: (910) 762-2421
Facsimile: (910) 251-9247
Email: jmannen@yfmlaw.com
Exhiler A

STATE OF NORTH CAROLINA COUNTY OF NEW HANOVER

CLAIM OF LIEN fia ee $3 AG 27

NOW COMES, CHAMBLISS & RABIL CONTRACTORS, INC., by and through its”

undersigned attorney, and hereby makes a claim of lien pursuant to N.C.G.S. 44A et. seq.

as follows:
1. Name and address of person claiming the lien:
Chambliss & Rabil Contractors, Inc.
821 Country Club Road
Rocky Mount, NC 27804
2. Name and address of the record owner of the real property claimed to be

subject to the lien at the time the claim of lien is filed:

Porters Neck Country Club, Inc.
8403 Vintage Club Drive
Wilmington, NC 28411

3. Description of the real property upon which the lien is claimed:

Being a Portion of Tract Four as described in Exhibit A attached hereto and being
more commonly known as the Porters Neck Country Club clubhouse site and surrounding
areas.

Also being the same property which is more commonly known as 8403 Vintage Club
Drive, Wilmington, North Carolina, Tax Parcel Identification No. Ro3700-002-018-000
and being more commonly know as the Porters Neck Country Club and surrounding areas.

4. Name and address of the general contractor:

Chambliss & Rabil Contractors, Inc.
821 Country Club Road
Rocky Mount, NC 27804

; Name and address of the person with whom the claimant contracted for the
furnishing of labor or materials:

Porters Neck Country Club, Inc.

Marc Tingle, General Manager and
Chief Operating Officer

Porters Neck Country Club

8403 Vintage Club Drive

Wilmington, NC 28411

 

IA mi25 |
6. Date upon which labor and materials were first furnished upon said property
by claimant:

November 6, 2018

7. Date upon which labor and materials were last furnished upon said property
by the claimant:

July 17, 2019

8. General description of the labor performed or materials furnished and the
amount claimed therefor:

Pursuant to its contract with Porters Neck Country Club, Inc. Chambliss & Rabil
Contractors, Inc. furnished labor, materials and services to the real property owned by

Debtor with regard to the repair and renovation of storm damage to the Clubhouse and
surrounding areas.

The Amount of the Lien Claimed Pursuant to the Above-Described Contract:

$38,898.03, plus reasonable attorneys fees and costs as allowed by N.C.G.S. 44A-35,
contract, or otherwise.

Respectfully submitted this the _/ $ day of November, 2019.
CHAMBLISS & RA ONTRACTORS, INC.

a
BY: __ Pama
erry A. Mannen, Jr.

{ Attorney for Claimant
Chambliss & Rabil Contractors, Inc.
102 North Fifth Avenue
Post Office Drawer 479
Wilmington, NC 28402
(910) 762-2421
(910) 251-9247 facsimile
jmannen@yfmlaw.com

 

Page -2-
New Hanover County Page 1 of 1

EXHIBIT ke

 

 

 

 

 

 

 

 

 

f Pages

PARID: RO3700-002-018-000 page} ° G

PORTERS NECK COUNTRY CLUB INC 8403 VINTAGE CLUB CIR
Parcel © Bn
Alt ID 317906.49.9543.000

Address 8403 VINTAGE CLUB CIR

Unit

City WILMINGTON

Zip Code -

Neighborhood F9G03

Class RES-Residential

Land Use Code 798-Recreational (private)

Living Units

Acres

Zoning R-20-RESIDENTIAL DISTRICT

‘Legal
Legal Description PORTERS NECK CLUBHOUSE SITE

Tax District FD

‘Owners (On January1st) |
Owner PORTERS NECK COUNTRY CLUB INC

City WILMINGTON

State NC

Country

Zip 28411

 

i
{

THE DATA IS FROM 2019

https://etax.nhcgov.com/pt/Datalets/PrintDatalet.aspx?pin=R03700-002-018-000&gsp=PR... 11/7/2019
     

f

New Hanove ‘Cow Ng NC, New Hanover County, NC.

 

 
 

‘i

SE

¥

 
Case 19-04309-5-SWH Doc 33 Filed 10/14/19 Entered 10/14/19 14:46:26 Page 96 of
118

INVESTORS TITLE INSURANCE COMPANY
P.O. Drawer 2687
Chapel Hill, North Carolina 27515-2687

Policy No.

 

RIGHT-OF-WAY) . ~PHENCE, -WITH-SAID-RIGHT-OF=<WAY-L INE, -SOUTH-22-DEGREES-08-MINUTES
5 9-SECONDS-WEST-A-DISTANCE-OF-50. 99>. £T-TO-A-POINT-ON-A-CURVE-TO-THE-LEFT
HAVING-A-RADIUS-OF-165.46-FEET. >PHENCE-ALONG- THE-ARC-OF-SAID-CURVE-TO-A-POINT
THAT-BEARS-SOUTH-1 7-DEGREES>15-MINUTES-5 8 -~SECONDS-WEST-A-CHORD-DISTANCE-OF

60. 38-FEET-FROM-THE-PRECEDING- POINT. -THENCE-SOUTH- 6-DEGREES-45-MINUTES-14
SECONDS-WEST-A-DISTANCE-OF-65 . 28-FEET-TO-A-POINT-ON-A-CURVE-TO-THE-RIGHT-HAVING
A-RADIUS-OF-209. 92-FEET. -THENCE-ALONG-THE-ARC-OF-SAI D-CURVE-TO-A-POINT-THAT
BEARS~SOUTH-22>DEGREES~3 7-MINUTES -05~-SECONDS-WEST-A-CHORD-DISTANCE-OF-114.77
FEET—F'ROM- THE -PRECEDING- POINT. -THENCE-NORTH-6-DEGREES-25-MINUTES-—43-SECONDS
WEST-A-DESTANCE-OF-130.87-FEET-TO-THE-POINT-OF-BEGINNING ; -CONTAINING-27 . 36
ACRES7-MORE-OR-LESS.

TRACT-FOUR:

DESCRI PTION-FOR-PORTERS-NECK-COUNTRY-CLUB, -INC.
REVISED-GOLF-HOLES-8,-9,-10,-11-&-18
INCLUDING-GOLF-HOLE-1 ,-DRIVING-RANGE
GOLF-MAINTENANCE-AREA- &-CLUBHOUSE-SITE
78.22-ACRES-NET

COMMENCING-AT-THE-INTERSECTION-OF-THE-SOUTHWESTERLY-RIGHT-OF-WAY-LINE-OF-FAZIO
DRIVE- (50-FOOT-WIDE-RIGHT-OF-WAY) -AND-THE-NORTHWESTERLY-RIGHT-OF-WAY-LINE-OF
VINTAGE-CLUB-DRIVE- (40-FOOT-WIDE-RIGHT-OF-WAY) -AS-SHOWN-ON-A-MAP-OF- PORTERS
NECK-PLANTATION-SECTION-I , -CHAMPIONS-ROW-RECORDED-IN-MAP-BOOK-32-AT-PAGE-293-IN
THE-NEW-HANOVER-COUNTY-REGISTRY. -SAID-POINT-BEING-TO-ON-A-CURVE-TO-THE-RIGHT
HAVING-A-RADIUS-OF-795 . 44-FEET-AND-BEING-THE-POINT-OF-BEGINNING;

THENCE, -FROM-SAID-POINT-OF-BEGINNING-WITH-SAID-NORTHWESTERLY-RIGHT-OF-WAY-LINE
OF-VINTAGE-CLUB-DRI VE-ALONG- THE-ARC-OF-SAID-CURVE, -SOUTH-51-DEGREES-38-MINUTES
33-SECONDS-WEST-A-CHORD-DISTANCE-OF-89.13-FEET-FROM-THE-PRECEDING-POINT . -THENCE
SOUTH-5 4-DEGREES-51-MINUTES-15-SECONDS-WEST-A-DISTANCE-OF-251 .24-FEET-TO-A
POINT-ON-A-CURVE-TO-THE-LEFT-HAVING-A-RADIUS-OF-416. 74-FEET.-—-THENCE-ALONG-THE

Form No. 110-06-A Page 13
Case 19-04309-5-SWH Doc 33 Filed 10/14/19 Entered 10/14/19 14:46:26 Page 97 of
118

INVESTORS TITLE INSURANCE COMPANY
P.O. Drawer 2687
Chapel Hill, North Carolina 27515-2687

Policy No. |@

 

ARC-OF-SAID-CURVE-TO-A-POINT-THAT-BEARS-SOUTH-4 8-DEGREES-1 0-MINUTES-47-SECONDS
WES T-A-CHORD-DISTANCE-OF-96. 87-FEET-FROM-THE-PRECEDING- POINT. -—THENCE-SOUTH-41
DEGREES-30-MINUTES-—20-SECONDS-WEST-A-DISTANCE-OF-371.74-FEET-TO-A-POINT-ON-A
CURVE-TO-THE-LEFT-HAVING-A-RADIUS-OF-320.00-FEET. -THENCE-ALONG-THE-ARC-OF-SAID
CURVE-TO-A-POINT-THAT-BEARS- SOUTH-5-DEGREES-—30-MINUTES-—20-SECONDS-WEST-A-CHORD
DISTANCE-OF-376.18-FEET-FROM-THE-PRECEDING- POINT. -THENCE-SOUTH-30-DEGREES-29
MINUTES-—12-SECONDS-EAST-A-DISTANCE-OF-71 .24-FEET-TO-A-POINT-ON-A-CURVE-TO-THE
LEFT-HAVING-A-RADIUS-OF-174.58-FEET.-THENCE-ALONG-THE-ARC-OF-SAID-CURVE-TO-A
POINT-THAT-BEARS-—SOUTH-55-DEGREES— 4 6-MINUTES-55-SECONDS-EAST-A-CHORD-DISTANCE
OF-149.15-FEET-FROM-THE-PRECEDING- POINT. -SAID-POINT-BEING-THE-NORTHEASTERLY
CORNER-OF-LOT-1-OF-SAID- PORTERS -NECK-PLANTATION-SECTION-I,-CHAMPIONS-ROW.
THENCE , -WITH-THE-LINES-OF-SAID-CHAMPIONS-ROW, —SOUTH-11-DEGREES-21-MINUTES-52
SECONDS-EAST-A-DISTANCE-OF-140.84-FEET-TO-A-POINT . -THENCE-NORTH- 78-DEGREES-38
MINUTES-08-SECONDS-EAST-A-DISTANCE-OF-761.81-FEET-TO-A-POINT.-—THENCE-NORTH-59
DEGREES—14-MINUTES-45-SECONDS-EAST-A-DISTANCE-OF-358 . 96-FEET-TO-A-POINT-ON-A
CURVE, -TO-THE-RIGHT-HAVING-A. -RADIUS-OF-150. 00-FEET.-THENCE-ALONG-THE-ARC-OF
SAID-CURVE-TO-A-POINT-THAT-BEARS-NORTH-72-DEGREES-24-MINUTES-36-SECONDS-EAST-A
CHORD-DISTANCE-OF-68. 32-FEET-FROM- THE-PRECEDING-POINT . -THENCE-NORTH-44-DEGREES
55-MINUTES-08-SECONDS-WEST-A-DISTANCE-OF-4 98 . 98- FEET-TO-A-POINT-ON-A-CURVE-TO
THE-RIGHT-HAVING-A-RADIUS-OF-150. 00-FEET. -THENCE-ALONG-THE-ARC-OF-SAID-CURVE-TO
A-POINT-THAT-BEARS-NORTH-1 5-DEGREES-—2 6-MINUTES-—10-SECONDS-EAST-A-CHORD-DISTANCE
OF-260. 73-FEET-FROM-THE-PRECEDING- POINT. -THENCE-NORTH-15-DEGREES-57-MINUTES-09
SECONDS-EAST-A-DISTANCE-OF-18. 95-FEET-TO-A-POINT-IN-THE-SOUTHERLY-RIGHT-OF-WAY
LINE-OF-SATID-FAZIO-DRIVE. -THENCE, -WITH-SAID-LINE-OF-FAZIO-DRIVE,-SOUTH- 74
DEGREES—15-MINUTES-46-SECONDS-EAST-A-DISTANCE-OF-204 . 05-FEET-TO-A-POINT-AT-THE
NORTHWESTERLY-CORNER-OF-LOT-24,-PORTERS-NECK- PLANTATION, -PHASE-I,-SECTION-I
RECORDED-IN-MAP-BOOK-33-AT-PAGE-1 83-IN-THE-NEW-HANOVER-COUNTY-REGISTRY.-—THENCE,
WITH-THE-LINES-OF-SAID-PORTERS-NECK-PLANTATION, -PHASE-I,-SECTION-I,-SOUTH-56
DEGREES-—41-MINUTES-17-SECONDS-WEST-A-DISTANCE-OF-47.19-FEET-TO-A-POINT. -THENCE
SOUTH-33-DEGREES—18-MINUTES~—43-SECONDS-EAST-A-DISTANCE-OF-491 . 94-FEET-TO-A
POINT-ON-A-CURVE , -TO-THE-RIGHT-HAVING-A-RADIUS-OF-100.00-FEET.-THENCE-ALONG-THE
ARC-OF-SAID-CURVE-TO-A- POINT-THAT-BEARS-SOUTH-1-DEGREES-—47-MINUTES-51-SECONDS
WES T-A-CHORD-DISTANCE-OF-1L5. 03-FEET-FROM-THE-PRECEDING-POINT. -THENCE-SOUTH-3

Form No. 110-06-A Page 14
Case 19-04309-5-SWH Doc 33 Filed 10/14/19 Entered 10/14/19 14:46:26 Page 98 of
118

INVESTORS TITLE INSURANCE COMPANY
P.O. Drawer 2687
Chapel Hill, North Carolina 27515-2687

Policy No. [aes

 

DEGREES-~06-MINUTES~- 41-SECONDS-EAST-A-DISTANCE-OF-112.25-FEET-TO-A-POINT.-THENCE
SOUTH-1 9-DEGREES-—20-MINUTES-02-SECONDS-WEST-A-DISTANCE-OF-106.32-FEET-TO-A
POINT. -THENCE-SOUTH-35-DEGREES-55-MINUTES-55-SECONDS-WEST-A-DISTANCE-OF-80.25
FEET-TO-A-POINT . -THENCE-SOUTH- 45-DEGREES-—32-MINUTES-11-SECONDS-WEST-A-DISTANCE
OF-100.56-FEET-TO-A-POINT. -THENCE-SOUTH-5 9-DEGREES~-1 4-MINUTES-45-SECONDS-WEST-A
DISTANCE-OF-279.34-FEET-TO-A-POINT-ON-A-CURVE-TO-THE-RIGHT-HAVING-A-RADIUS-OF
150.00-FEET. -THENCE-ALONG- THE-ARC-OF-SAID-CURVE-TO-A-POINT-THAT-BEARS-SOUTH-72
DEGREES-31-MINUTES-27-SECONDS-WEST-A-CHORD-DISTANCE-OF-68. 90-FEET-FROM-THE
PRECEDING-POINT .-SAID-POINT-BEING-IN-THE-NORTHERLY-LINE-OF-PORTERS-NECK
PLANTATION, -JUPITER-HILLS-RECORDED- IN-MAP-BOOK-33-AT-PAGE-216-IN-THE-NEW
HANOVER-COUNTY-REGISTRY.-THENCE, -WITH-THE-LINES-OF-SAID-JUPITER-HILLS,-SOUTH-85
DEGREES~— 48-MINUTES-08-SECONDS-WEST-A-DISTANCE-OF-477.95-FEET-TO-A-POINT .-THENCE
NORTH-4-DEGREES~11-MINUTES-50-SECONDS-WEST-A-DISTANCE-OF-12.00-FEET-TO-A-POINT.
THENCE-SOUTH- 8 4-DEGREES-02-MINUTES-05-SECONDS-WEST-A-DISTANCE-OF-175.08-FEET-TO
A-POINT . -THENCE-NORTH-8 4-DEGREES~—0 9-MINUTES-—5 7-SECONDS-WEST-A-DISTANCE-OF
193.46-FEET-TO-A-POINT . -THENCE-SOUTH-3-DEGREES-52-MINUTES-—14-SECONDS-WEST-A
DISTANCE-OF-77.78-FEET-TO-A-POINT. -THENCE-SOUTH- 68 -DEGREES-53-MINUTES-38
SECONDS-EAST-A-DISTANCE-OF-270.18-FEET-TO-A-POINT . -THENCE-SOUTH-52-DEGREES-30
MINUTES-—08-SECONDS-EAST-A-DISTANCE-OF-358 . 92-FEET-TO-A-POINT-ON-A-CURVE-TO-THE
RIGHT-HAVING-A-RADIUS-OF-150. 00-FEET.—-THENCE-ALONG- THE-ARC-OF-SAID-CURVE-TO-A
POINT-THAT-BEARS —-SOUTH- 4 4-DEGREES-—5 8-MINUTES-05-SECONDS—-EAS T-A-CHORD-DIS TANCE
OF-39.34-FEET-FROM-THE-PRECEDING- POINT-THENCE-SOUTH-3 7-DEGREES-26-MINUTES-O1
SECONDS -EAST-A-DISTANCE-OF-798 . 43-FEET-TO-A-POINT-ON-A-CURVE, -TO-THE-RIGHT
HAVING-A-RADIUS-OF-100.00-FEET.-SAID-POINT-BEING- IN-THE-SOUTHWESTERLY-BOUNDARY
LINE-OF-AFORESATD-PORTERS-NECK-PLANTATION, -PHASE-I,-SECTION-I.-THENCE,-WITH
SAID-PORTERS-NECK- PLANTATION, -PHASE-I,-SECTION-I-LINES-ALONG-THE-ARC-OF-SAID
CURVE-TO-A- POINT-THAT-BEARS-SOUTH-5-DEGREES-— 4 6-MINUTES-—29-SECONDS-WEST-A-CHORD
DISTANCE-OF-136.93-FEET-FROM-THE-PRECEDING- POINT. -THENCE-SOUTH-48-DEGREES-58
MINUTES~—5 9-SECONDS-WEST-A-DISTANCE-OF-87. 72-FEET-TO-A-POINT-IN-THE-NORTHERLY
RIGHT-OF-WAY-LINE-OF-PORTERS-NECK-ROAD- (SR-1491,-60-FOOT-WIDE-PUBLIC
RIGHT-OF-WAY) . -THENCE, -WITH-SAID-LINE-OF-PORTERS-NECK-ROAD, -NORTH-4 9-DEGREES-02
MINUTES-33-SECONDS-WEST-A-DISTANCE-OF-1150.94-FEET-TO-A-POINT. -THENCE-NORTH-49
DEGREES-51-MINUTES-15-SECONDS-WEST-A-DISTANCE-OF-153.58-FEET-TO-A-POINT.-THENCE

Form No. 110-06-A : Page 15
Case 19-04309-5-SWH Doc 33 Filed 10/14/19 Entered 10/14/19 14:46:26 Page 99 of
118

INVESTORS TITLE INSURANCE COMPANY
P.O. Drawer 2687
Chapel Hill, North Carolina 27515-2687

Policy No. (a 22NF

NORTH-52-DEGREES- 45-MINUTES-—42-SECONDS-WEST-A-DISTANCE-OF-102.31-FEET-TO-A
POINT. -THENCE-NORTH~-5 8-DEGREES-—2 7-MINUTES-40-SECONDS-WEST-A-DISTANCE-OF-102.95
FEET-TO-A-POINT . -THENCE-NORTH- 63-DEGREES-5 6-MINUTES-08-SECONDS-WEST-A-DISTANCE
OF-102. 68-FEET-TO-A-POINT. -THENCE-NORTH-68-DEGREES~—2 7-MINUTES-07-SECONDS-WEST-A
DISTANCE-OF-1 02. 48-FEET-TO-A- POINT. -THENCE-NORTH-73-DEGREES-21-MINUTES-47
SECONDS-WEST-A-DISTANCE-OF-102. 48-FEET-TO-A-POINT . -THENCE-NORTH-73-DEGREES-21
MINUTES-4 7-SECONDS-WEST-A-DISTANCE-OF-33.16-FEET-TO-A-POINT.-THENCE-NORTH-79
DEGREES~-53-MINUTES-17-SECONDS-WEST-A-DISTANCE-OF-88 .29-FEET-TO-A-POINT.-THENCE,
LEAVING-THE-RIGHT-OF-WAY-OF-SAID-PORTERS-NECK-ROAD, -NORTH-74-DEGREES-51-MINUTES
22-SECONDS-WEST-A-DISTANCE-OF-206. 01-FEET-TO-A-POINT-ON-A-CURVE-TO-THE-RIGHT
HAVING-A-RADIUS-OF-150.00-FEET. -THENCE-ALONG-THE-ARC-OF-SAID-CURVE-TO-A-POINT
THAT-BEARS-NORTH-71-DEGREES-—26-MINUTES-37-SECONDS-WEST-A-CHORD-DISTANCE-OF
17.86-FEET-FROM-THE-PRECEDING- POINT. -THENCE-NORTH-68-DEGREES-01-MINUTES-51
SECONDS-WEST-A-DISTANCE-OF-798. 44-FEET-TO-A-POINT-ON-A-CURVE-TO-THE-RIGHT
HAVING-A-RADIUS-OF-100. 00-FEET. -THENCE-ALONG- THE-ARC-OF-SAID-CURVE-TO-A-POINT
THAT-BEARS-NORTH-58-DEGREES-00-MINUTES-31-SECONDS-WEST-A-CHORD-DISTANCE-OF
34.81-FEET-FROM-THE-PRECEDING- POINT. -THENCE-NORTH-10-DEGREES-06-MINUTES-08
SECONDS-EAST-A-DISTANCE-OF-970.19-FEET-TO-A-POINT . -THENCE-SOUTH- 7 9-DEGREES-58
MINUTES-—37-SECONDS-EAST-A-DISTANCE-OF-47.28-FEET-TO-A-POINT . -THENCE-NORTH-10
DEGREES-06-MINUTES-08-SECONDS-EAST-A-DISTANCE-OF-61.65-FEET-TO-A-POINT. -THENCE
NORTH- 7 9-DEGREES-—58-MINUTES-37-SECONDS-WEST-A-DISTANCE-OF-47.28-FEET-TO-A

POINT . -THENCE-NORTH-1 0-DEGREES-0 6-MINUTES-—08-SECONDS-EAST-A-DISTANCE-OF-270. 41
FEET-TO-A-POINT-IN-THE-SOUTHERLY-BOUNDARY-LINE-OF-HUNTERS-GREEN, —-PHASE-I-AT
PORTERS -NECK- PLANTATION-RECORDED-IN-MAP-BOOK-35-AT-PAGE-132-IN-THE-NEW-HANOVER
COUNTY-REGISTRY .-THENCE, -WITH-THE-LINES-OF-SAID-HUNTERS-GREEN, —-PHASE-I,-SOUTH

7 9-DEGREES-53-MINUTES-12-SECONDS-EAST-A-DISTANCE-OF-42.60-FEET-TO-A-POINT.
THENCE-NORTH-1 0-DEGREES-—06-MINUTES- 48-SECONDS-EAST-A-DISTANCE-OF-143.46-FEET-TO
A-POINT-IN-THE-SOUTHERLY-RIGHT-OF-WAY-LINE-OF-WILD-DUNES-CIRCLE- (VARIABLE-WIDTH
PRIVATE-RIGHT-OF-WAY) . -THENCE , -WITH-SAID-LINE-OF-WILD-DUNES-CIRCLE,-NORTH-61
DEGREES~-1 4-MINUTES-30-SECONDS-EAST-A-DISTANCE-OF-3. 92-FEET-TO-A-POINT-ON-A
CURVE-TO-THE-RIGHT-HAVING-A-RADIUS-OF-25.00-FEET.—-THENCE-ALONG-THE-ARC-OF-SAID
CURVE-TO-A- POINT-THAT-BEARS-SOUTH- 8 9-DEGREES-20-MINUTES~— 44-SECONDS-EAST-A-CHORD
DISTANCE-OF-24 . 67-FEET-FROM-THE-PRECEDING-POINT. -SAID-POINT-BEING-ON-A-CURVE-TO

Form No. 110-06-A Page 16
Case 19-04309-5-SWH Doc 33 Filed 10/14/19 Entered 10/14/19 14:46:26 Page 100 of
118

INVESTORS TITLE INSURANCE COMPANY
P.O. Drawer 2687
Chapel Hill, North Carolina 27515-2687

Policy No.

 

THE-RIGHT-HAVING-A-RADIUS-OF-376.27-FEET. —-THENCE-ALONG-THE-ARC-OF-SAID-CURVE-TO
A-POINT-THAT-BEARS-SOUTH-5 6-DEGREES-32-MINUTES-59-SECONDS-EAST-A-CHORD-DISTANCE
OF-42.37-FEET-FROM-THE-PRECEDING- POINT. -SAID-POINT-BE ING-ON-A-CURVE-TO-THE-LEFT
HAVING-A-RADIUS-OF-202.17-FEET.-THENCE-ALONG- THE-ARC-OF-SAID-CURVE-TO-A-POINT
THAT-BEARS-SOUTH-76-DEGREES~- 4 4-MINUTES-—11-SECONDS-EAST-A-CHORD-DISTANCE-OF

160. 68-FEET-FROM-THE-PRECEDING- POINT. -SAID-POINT-BEING-ON-A-CURVE-TO-THE-LEFT
HAVING-A-RADIUS-OF-326.21-FEET.-THENCE-ALONG-THE-ARC-OF-SAID-CURVE-TO-A-POINT
THAT-BEARS-NORTH-5 9-DEGREES-— 40-MINUTES-12-SECONDS-EAST-A-CHORD-DISTANCE-OF
225.06-FEET-TO-A-POINT-ON-A-CURVE, -TO-THE-LEFT-HAVING-A-RADIUS-OF-249.92-FEET.
THENCE-ALONG- THE-ARC-OF-SAID-CURVE-TO-A-POINT-THAT-BEARS-NORTH-23-DEGREES-07
MINUTES-21-SECONDS-EAST-A-CHORD-DISTANCE-OF-140.86-FEET-FROM-THE-PRECEDING
POINT . -THENCE-NORTH- 6-DEGREES-4 5-MINUTES~—1 4-SECONDS-EAST-A-DISTANCE-OF-65.28
FEET-TO-A-POINT-ON-A-CURVE, -TO-THE-RIGHT-HAVING-A-RADIUS-OF-125. 46-FEET.—-THENCE
ALONG-THE-ARC-OF-SAID-CURVE-TO-A- POINT-THAT-BEARS-NORTH-1 7-DEGREES-—15-MINUTES
58-SECONDS-EAST-A-CHORD-DISTANCE-OF-45. 78-FEET-FROM-THE- PRECEDING-POINT- THENCE
NORTH-33-DEGREES-24-MINUTES~—1 6-SECONDS-EAST-A-DISTANCE-OF-50.99-FEET-TO-A

POINT . -THENCE, -LEAVING-THE-RIGHT-OF-WAY-LINE-OF-SAID-WILD-DUNES-CIRCLE, -SOUTH
62-DEGREES-—13-MINUTES-—17-SECONDS-EAST-A-DISTANCE-OF-95.36-FEET-TO-A-POINT-ON-A
CURVE-TO-THE-RIGHT-HAVING-A-RADIUS-OF-100.00-FEET.-THENCE-ALONG-THE-ARC-OF-SAID
CURVE-TO-A- POINT-THAT-BEARS-SOUTH-43-DEGREES~35-MINUTES— 42-SECONDS-EAST-A-CHORD
DISTANCE-OF-189.44-FEET-FROM-THE-PRECEDING-POINT. —-THENCE-SOUTH-2 7-DEGREES-42
MINUTES-—06-SECONDS-WEST-A-DISTANCE-OF-298 . 08-FEET-TO-A-POINT. -THENCE-SOUTH-66
DEGREES—5 9-MINUTES-—29-SECONDS-EAST-A-DISTANCE-OF-605.32-FEET-TO-A-POINT.-THENCE
NORTH-54-DEGREES-—55-MINUTES-56-SECONDS-EAST-A-DISTANCE-OF-57.30-FEET-TO-A-POINT
IN-THE-SOUTHEASTERLY-BOUNDARY-LINE-OF-FAIRWAYS-COMMONS , -PHASE-II-AT-PORTERS
NECK- PLANTATION-RECORDED-IN-MAP-BOOK-41-AT-PAGE-121-IN-THE-NEW-HANOVER-COUNTY
REGISTRY. -THENCE, -WITH-SAID-LINE, -NORTH-63-DEGREES-36-MINUTES-18-SECONDS-EAST-A
DISTANCE-OF-1 92. 42-FEET-TO-A-POINT-IN-THE-SOUTHEAS TERLY-BOUNDARY-LINE-OF
FATRWAYS-—COMMONS , - PHASE-I-AT-PORTERS-NECK-PLANTATION-RECORDED- IN-MAP-BOOK-40-AT
PAGE-8 7-IN-THE-NEW-HANOVER-COUNTY-REGISTRY. -THENCE, -WITH-SAID-LINE, -NORTH-51
DEGREES~- 4 4-MINUTES-31-SECONDS-EAST-A-DISTANCE-OF-209.13-FEET-TO-A-POINT-IN-THE
SOUTHERLY-RIGHT-OF-WAY-LINE-OF-AFORESAID-FAZIO-DRIVE.-SAID-POINT-BEING-ON-A
CURVE-TO-THE-RIGHT-HAVING-A-RADIUS-OF-316.56-FEET.-THENCE,-THE-LINES-OF-SAID

Form No. 110-06-A Page 17
Case 19-04309-5-SWH Doc 33 Filed 10/14/19 Entered 10/14/19 14:46:26 Page 101 of
118

INVESTORS TITLE INSURANCE COMPANY
P.O. Drawer 2687
Chapel Hill, North Carolina 27515-2687

Policy No. (RRR 22NF

FAZIO-DRIVE-ALONG-THE-ARC-OF'-SAID-CURVE-TO-A-POINT- THAT-BEARS-SOUTH-56-DEGREES
41-MINUTES-14-SECONDS-EAST-A-CHORD-DISTANCE-OF-1 69. 65-FEET-FROM-THE-PRECEDING
POINT. -THENCE-SOUTH-41-DEGREES~-08-MINUTES-4 9-SECONDS-EAST-A-DISTANCE-OF-125.26
FEET-TO-THE-POINT-OF-BEGINNING ; -CONTAINING-78.71-ACRES ,-MORE-OR-LESS.

EXCEPTING-THE-FOLLOWING-TWO-PARCELS:

EXCEPT ION-PARCEL-ONE
TO-ARRIVE-AT-THE-POINT-OF-BEGINNING-COMMENCE-AT-A-POINT-IN-THE-SOUTHERLY
RIGHT-OF-WAY-LINE-OF-WILD-DUNES-CIRCLE- (VARIABLE-WIDTH-PRIVATE-RIGHT-OF-WAY) .
SAID-POINT-BEING-THE-NORTHEASTERLY-CORNER-OF-LOT-16,-HUNTERS-GREEN , -PHASE-I-AT
PORTERS—-NECK-PLANTAT ION-AS-—SHOWN-ON-A-MAP-RECORDED- IN-MAP-BOOK-35-AT-PAGE-132
IN-THE-NEW-HANOVER-COUNTY-REGISTRY. -THENCE , -WITH-THE-EASTERLY-LINE-OF-SAID-LOT
16,-SOUTH-10-DEGREES-06-MINUTES- 48-SECONDS-WEST-A-DISTANCE-OF-143.46-FEET-TO-A
POINT-IN-THE-NORTHERLY-LINE-OF-"GOLF-MAINTENANCE-AREA"-AS-DESCRIBED-A-DEED
RECORDED- IN-DEED-BOOK-1 637-AT-PAGE-20 6-IN-THE-NEW-HANOVER-COUNTY-REGISTRY.
THENCE , -WITH-SATD-NORTHERLY-LINE, -NORTH- 7 9-DEGREES-53-MINUTES-12-SECONDS-WEST-A
DISTANCE-OF-42. 60-FEET-TO-A-POINT. -THENCE, -SOUTH-10-DEGREES-06-MINUTES-08
SECONDS-WEST-A-DISTANCE-OF-270. 41-FEET-TO-A-POINT . -THENCE-SOUTH-79-DEGREES-58
MINUTES-—37-SECONDS-EAST-A-DISTANCE-OF-47.28-FEET-TO-POINT. -—THENCE-SOUTH-10
DEGREES - 0 6-MINUTES-08-SECONDS-WEST-A-DISTANCE-OF-61 . 65-FEET-TO-A- POINT. -THENCE

SOUTH-6 7-DEGREES-— 1 1-—MINUTES-25-SECONDS-EAST-A-DISTANCE-OF-30.75-FEET-TO-THE
POINT-OF-BEGINNING;

THENCE-SOUTH-79-DEGREES-58-MINUTES-37-SECONDS-EAST-A-DISTANCE-OF-103.95-FEET-TO
A-POINT-IN-THE-EASTERLY-LINE-OF-AFORESAID-"GOLF-MAINTENANCE-AREA" .-THENCE,—-A
NEW-LINE, -SOUTH-1 8-DEGREES —-4 9-MINUTES-2 6-SECONDS-WES T-A-DISTANCE-OF-151.79-FEET
TO-A-POINT. -THENCE-NORTH-7 9-DEGREES-5 8-MINUTES-3 7-SECONDS-WEST-A-DISTANCE-OF
99. 38-FEET-TO-A-POINT. -THENCE-NORTH-1 0-DEGREES-06-MINUTES-08-SECONDS-EAST-A
DISTANCE-OF-111.19-FEET-TO-A- POINT. -THENCE-NORTH-35-DEGREES-31-MINUTES-03

SECONDS—-EAST-A-DISTANCE-OF-42. 99-FEET-TO-THE-POINT-OF-BEGINNING; -CONTAINING
0.37-ACRES,-MORE-OR-LESS.

Form No. 110-06-A Page 18
CERTIFICATE OF SERVICE

I hereby certify that I have this day served a copy of the foregoing Claim of Lien
upon all other parties to this cause by placing a copy of the same in the United States Mail,
postage prepaid, addressed as follows:

Mr. Jason L. Hendren
Hendren, Redwine & Malone, PLLC
4600 Marriott Drive
Suite 150
Raleigh, NC 27612

Attorney for Porters Neck Country Club, Inc.

Porters Neck County Club, Inc.
Attn: Mr. David Adams, President
8403 Vintage Club Drive
Wilmington, NC 28411

Porters Neck Country Club, Inc.
Attn: Mr. Marc Tingle, GM and COO
8403 Vintage Club Drive
Wilmington, NC 28411

This the _/ § day of November, 2019.

Jérry A. Mannen, Jr.

 
CERTIFICATE OF SERVICE

 

I, Jerry A. Mannen, Jr., of 102 North Fifth Avenue (P.O. Drawer 479), Wilmington,
North Carolina, certify:

That I am andat all times hereinafter mentioned was, more than eighteen (18) years
of age;

That on the 11" day of December, 2019, the forgoing Notice of Perfection of Statutory
Lien was filed electronically in accordance with the local rules and was therefore served
electronically on those entities that have registered for electronic service. I further served
a copy of the within pleading on Mr. Jason L. Hendren, attorney for debtor Porters Neck
Country Club, Inc. and on the debtor, Porters Neck Country Club, Inc. by mailing a copy of
same, postage prepaid, sealed in a secure envelope, and deposited in the United States Post
Office, Wilmington, North Carolina, addressed as follows:

Mr. Jason L. Hendren
Hendren, Redwine & Malone, PLLC
4600 Marriott Drive
Suite 150
Raleigh, NC 27612

Porters Neck County Club, Inc.
Attn: Mr. David Adams, President
8403 Vintage Club Drive
Wilmington, NC 28411
I certify under penalty of perjury that the foregoing is true and correct.
Executed this the 11" day of December, 2019.
YOW, FOX & MANNEN, L.L.P.

By: s/Jerry A. Mannen, Jr.
Jerry A. Mannen, Jr.
